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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ALLIANCE FOR RETIRED
AMERICANS, et al.,

                      Plaintiffs,
                                                       Case No. 1:25-cv-00313-CKK
               v.

SCOTT BESSENT, in his official capacity
as Secretary of the Treasury, et al.,

                      Defendants.


                                    JOINT STATUS REPORT

       The parties submit this joint status report as required by the Court’s February 25, 2025

Minute Order. The parties have conferred and propose the following schedule for further

proceedings following the Court’s ruling on Plaintiffs’ motion for a preliminary injunction:

              Defendants to file their motion to dismiss or, in the alternative, for summary

               judgment, within 14 days of the Court’s ruling on Plaintiffs’ motion for a

               preliminary injunction.

              Plaintiffs to file their combined opposition to Defendants’ motion and cross motion

               for summary judgment within 14 days after Defendants file their motion.

              Defendants to file their combined reply and opposition to Plaintiffs’ motion for

               summary judgment within 10 days of the filing of Plaintiffs’ opposition and cross

               motion.

              Plaintiffs to file their reply within 10 days of the filing of Defendants’ reply and

               opposition.
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Dated: February 26, 2025               Respectfully submitted,

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